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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


  CHERYL ODE, CHELSEA
  RODRIGUEZ and ANN ROGICH,
                                             Civil Action File No.:
              Plaintiffs,
                                             4:19-cv-00233-WMR
  v.


  ANHEUSER-BUSCH, LLC,
              Defendant.

                                    ORDER

       This matter is before the Court on the Magistrate Judge’s Non-Final Report

and Recommendation (“R & R”) [Doc. 16], which recommends that Defendant’s

Motion to Dismiss or Stay and to Compel Arbitration [Doc. 8] be DENIED.

Defendant has filed objections to the R & R. [Doc. 18]. Specifically, Defendant

makes three objections to the Magistrate Judge’s recommendations: (1) the R & R

erred in finding the Dispute Resolution Program’s (“DRP”) delegation clause to be

inapplicable; (2) the R & R erred in finding that Plaintiffs’ challenge to the

delegation clause was sufficient; and (3) the R & R erred in finding that the

arbitration agreements are superseded by the Collective Bargaining Agreement

(“CBA”). [Id.]. For the following reasons, this Court adopts the recommendations

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of the Magistrate Judge and DENIES Defendant’s Motion to Dismiss or Stay and

Compel Arbitration [Doc. 8].

        Under 28 U.S.C. § 636(b)(1), the Court reviews the R & R for clear error if

no objections are filed by either party within fourteen days of service. If a party does

file objections, the Court must review de novo any part of the Magistrate Judge’s

disposition that is the subject of a proper objection. Id.; Fed. R. Civ. P. 72(b). As

Defendant has filed objections to the R & R in this case, the de novo standard applies

to the portions of the R & R subject to Defendant’s objections.

   I.      LEGAL STANDARD ON MOTION TO DISMISS OR STAY AND
           COMPEL ARBITRATION

        The Federal Arbitration Act (“FAA”) states that agreements requiring the

submission of disputes to arbitration “shall be valid, irrevocable, and enforceable,

save upon such grounds as exist at law or in equity for the revocation of any

contract.” 9 U.S.C. § 2. Under the FAA, a court must either stay or dismiss a lawsuit

and compel arbitration if there is a valid arbitration agreement. Lambert v. Austin

Ind., 544 F.3d 1192, 1195 (11th Cir. 2008).

        In reviewing a motion to compel arbitration, a court must consider whether

“(1) there is a valid written agreement to arbitrate; (2) the issue [sought to be

arbitrated] is arbitrable under the agreement; and (3) the party asserting the claims

has failed or refused to arbitrate the claims.” McBride v. Gamestop, Inc., No. 1:10-
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CV-2376-RWS, 2011 WL 578821, at *2 (N.D. Ga. Feb. 8, 2011) (quoting Lomax v.

Woodmen of the World Life Ins. Soc’y, 228 F. Supp. 2d 1360, 1362 (N.D. Ga. 2002)).

         In determining whether an arbitration agreement exists, courts should

generally apply “ordinary state-law principles that govern the formation of

contracts.” First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995). The

movant bears the burden of proving “[t]he existence and terms of [the] contract . . .

by a preponderance of the evidence.” Bazemore v. Jefferson Cap. Sys., LLC, 827

F.3d 1325, 1330 (11th Cir. 2016). As with a motion for summary judgment, a district

court considering an arbitration agreement should give the party denying the

agreement the benefit of all reasonable doubts and inferences that may arise.

Magnolia Capital Advisors, Inc. v. Bear Stearns & Co., 272 F. App’x 782, 786 (11th

Cir. 2008); Rodriguez v. Castforce, Inc., 190 F. Supp. 3d 1148, 1152 (N.D. Ga.

2016).

         Additionally, under the National Labor Relations Act, unions have the

authority to negotiate with employers and waive the rights of covered employees to

judicial forums and jury trials for the vindication of statutory rights and to replace

those with arbitration. See 14 Penn Plaza LLC v. Pyett, 556 U.S. 247, 255-56 (2009).

Such a waiver contained in a CBA must “clearly and unmistakably” require union

members to arbitrate their statutory discrimination claims in order for a court to

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enforce arbitration. Id. at 260. Indeed, a CBA is required to “explicitly state” that

there is an agreement to arbitrate statutory discrimination claims. Id. at 258-59

(citing Wright v. Universal Mar. Serv. Corp., 525 U.S. 70, 80 (1998)).

   II.     FACTUAL BACKGROUND

         Plaintiffs Cheryl Ode (“Ode”), Chelsea Rodriguez (“Rodriguez”) and Ann

Rogich (“Rogich”) are hourly, union workers employed by Defendant Anheuser-

Busch, LLC (“AB” or “Defendant”). [Doc. 8-2 at 2, Exhibit 1 at ¶¶ 4-5 (hereinafter

“Hlubek Decl.”)]. Ode applied for and began her employment with AB in December

2004; Rodriguez applied for employment with AB in March 2003 and began her

employment in May 2003; and Rogich began her employment with AB in May 2013.

[Hlubek Decl. at ¶ 3].

         Ode and Rodriguez’s Employment Applications provided:

         I AGREE THAT IF I BECOME EMPLOYED BY THE COMPANY,
         AND UNLESS A WRITTEN CONTRACT PROVIDES TO THE
         CONTRARY, ANY CLAIM I MAY HAVE AGAINST THE
         COMPANY WILL BE SUBJECT TO FINAL AND BINDING
         ARBITRATION IN ACCORDANCE WITH THE COMPANY’S
         DISPUTE RESOLUTION PROGRAM [“DRP”], AND THAT
         ARBITRATION WILL BE THE EXCLUSIVE METHOD I WILL
         HAVE FOR FINAL AND BINDING RESOLUTION OF ANY SUCH
         CLAIM.

[Doc. 8-2, Exhibit A, at 6-9].




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       In or about August 2012, Rogich received an electronic confirmation notice

prior to submitting an online application for employment with AB. [Doc. 8-3 at 2-

3, Exhibit 2 at ¶¶ 3-4 (hereinafter “Schmitt Decl.”)]. In submitting her application,

Rogich clicked a submit button confirming that she understood all of the information

in the Confirmation Notice. [Schmitt Decl. at ¶¶ 6-7]. The Confirmation Notice

provided as follows:

       If hired, unless a written contract provides otherwise, I agree that work-
       related disputes between the Company and me will be subject to final
       and binding arbitration under the Company’s Dispute Resolution
       Program (DRP). I further agree that arbitration will be the exclusive
       method the Company and I will have for final and binding resolution of
       claims covered by the DRP.

[Id. at ¶ 5].

       Under the “Covered Employees” section, the DRP states that the “DRP

applies to all salaried and non-union hourly employees of Anheuser-Busch

Companies, Inc., or any of its U.S. subsidiaries.” [Doc. 9-2 at 3]. The DRP provides

that the “arbitrator’s decision is the final, binding and exclusive remedy for the

Employee’s covered claim(s)” and the DRP “constitutes the sole agreement between

the Company and its Employees concerning the requirements of the DRP.” [Id.].

The DRP further provides that “[b]y accepting or continuing employment with the

Company, new and current Employees agree, as a condition of their employment,

that all covered claims are subject to the DRP process, and that an Arbitrator’s award
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shall be a final, binding, and exclusive determination of their covered claims.” [Id.

at 18, art. 17.1]. Gender discrimination claims are included under “Covered Claims”

in the DRP. [Id. at 6]. The DRP also includes a delegation clause, which states that

“[t]he Arbitrator shall have exclusive authority to resolve any dispute relating to the

applicability, enforceability or formation of the DRP, including any claim that all or

part of the DRP is invalid or unenforceable.” [Doc. 9-2 at 17, art. 13.1].

      Plaintiffs are members of Local Union No. 1129 affiliated with the Teamsters

Chauffeurs, Warehousemen, and Helpers of America, the Brewery and Soft Drink

Workers Conference, U.S.A. and Canada (the “Union”). [Doc. 8-1 at 3]. Plaintiffs’

employment with AB is governed by a Collective Bargaining Agreement (“CBA”)

between AB and the Union. [Hlubek Decl. at ¶ 4]. Article 8 of the CBA sets out a

general grievance procedure with arbitration as the final step. [Doc. 9-1 at 16-19].

Grievance is defined in the CBA as “any difference between [AB] and the employee

covered by this Agreement as to the following: . . . [a]ny matter involving the

meaning, interpretation, application or alleged violation of this Agreement by the

[AB].” [Id. at 16-17]. The CBA specifies that disputes arising from Articles 43

and/or 44 and out of the Family and Medical Leave Act (“FMLA”) are subject to

binding arbitration, but these sections do not address discrimination claims. [Id. at

14, 62]. Notably, Article 26 of the CBA provides:

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       Neither the Employer nor the Union shall discriminate against any
       individual because of race, color, religion, sex, national origin,
       ancestry, age, disability, Vietnam era veteran or disabled veteran status
       with respect to any term or condition of employment, or any other right,
       benefit, duty, or obligation created and/or protected by the provisions
       of this Agreement. Nothing in this collective bargaining agreement
       shall prevent any employee from lodging any charge, complaint, or
       claim seeking redress for alleged violations of any statutory rights or
       obligations in the applicable and appropriate forum.

[Id. at 39].

       On October 8, 2019, Plaintiffs filed their Complaint. [Doc. 1]. On December

3, 2019, Plaintiffs filed their Amended Complaint alleging six counts: (i) Gender

Discrimination pursuant to Title VII; (ii) Retaliation pursuant to Title VII; (iii)

Negligent Supervision and Retention; (iv) Assault; (v) Battery; and (vi) Attorney’s

Fees. [Doc. 3 at ¶¶ 60-104]. On February 13, 2020, Defendant filed the present

Motion to Dismiss or Stay and to Compel Arbitration pursuant to the DRP and CBA.

[Doc. 8]. On April 9, 2020, the Magistrate Judge issued his R & R recommending

Defendant’s Motion to Dismiss or Stay and to Compel Arbitration be denied. [Doc.

16]. The Magistrate Judge found that the CBA does not mandate arbitration of Title

VII claims and that the DRP does not apply to Plaintiffs. [Id. at 4, 7]. On April 23,

2020, Defendants filed their objections to the Magistrate Judge’s R & R, stating that

the issue of arbitrability is a question for the arbitrator pursuant to the DRP’s

delegation clause because: (1) the R & R erred in finding the DRP’s delegation

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clause to be inapplicable; (2) the R & R erred in finding that Plaintiffs’ challenge to

the delegation clause was sufficient; and (3) the R & R erred in finding that the

arbitration agreements are superseded by the CBA. [Doc. 18].

   III.     DISCUSSION

      Defendant asks this Court to dismiss or stay this litigation and compel

arbitration of Plaintiffs’ claims pursuant to either the CBA or the DRP. [Doc. 8].

As noted above, the Magistrate Judge concluded that the CBA does not mandate

arbitration of Title VII claims because the final sentence of Article 26, which

provides that nothing in the CBA will prevent any employee from lodging a

complaint for alleged violations of statutory rights “in the applicable and appropriate

forum,” coupled with the ambiguous definition of grievances in Article 8, which can

be interpreted to include only grievances related to the requirements of the CBA

itself rather than those related to the statutory requirements of Title VII, makes it

such that the CBA does not “clearly and unmistakably” require arbitration of

Plaintiffs’ discrimination claims. [Doc. 16 at 4-6]. The Magistrate Judge further

found that the CBA does not require arbitration of Plaintiffs’ claims because the

CBA specifically included an arbitration requirement for FMLA claims, but not for

discrimination claims. [Id. at 6-7].




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       Regarding the DRP, the Magistrate Judge concluded the DRP is superseded

by the CBA, and because the CBA does not require arbitration of Plaintiffs’ claims,

Defendant cannot succeed on its Motion. [Id. at 10-11]. The Magistrate Judge also

found that the DRP does not even apply to Plaintiffs because Plaintiffs are hourly,

union employees and the DRP limits its application to salaried, non-union employees

by its own terms. [Id. at 9]. The Magistrate Judge explained that because the DRP

is inapplicable to Plaintiffs, it follows that the delegation clause is also inapplicable.

[Id. at 11].

       Defendant     asserts   three    objections    to    the   Magistrate     Judge’s

recommendations: (1) the R & R erred in finding the DRP’s delegation clause to be

inapplicable; (2) the R & R erred in finding that Plaintiffs’ challenge to the

delegation clause was sufficient; and (3) the R & R erred in finding that the

arbitration agreements are superseded by the CBA. [Doc. 18]. In their response to

Defendant’s objections, Plaintiffs argue that because the DRP does not apply to

Plaintiffs by its own terms, Defendant’s arguments regarding the delegation clause

in the DRP are irrelevant. [Doc. 20 at 12-13]. Plaintiffs further argue that the CBA

supersedes the DRP as a written contract entered into after Plaintiffs agreed to the

DRP. [Id. at 6-8]. The Court will address each of Defendant’s objections to the

Magistrate Judge’s R & R below.

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      A. The DRP’s Delegation Clause Is Inapplicable to Plaintiffs

      Defendant first argues that the Court “only retain[s] jurisdiction to review a

challenge” specifically to the delegation clause and the determination of the DRP’s

enforceability is exclusively within the arbitrator’s authority. [Docs. 18 at 3-4; Doc.

9-2 at 16, art. 13.1 (The DRP states that the arbitrator has the “exclusive authority to

resolve any dispute relating to the applicability, enforceability or formation of the

DRP, including any claim that all or part of the DRP is invalid or unenforceable.”)];

Parnell v. CashCall, Inc., 804 F.3d 1142, 1144 (11th Cir. 2015). Defendant further

argues that Plaintiffs failed to sufficiently challenge the delegation clause

specifically by only challenging the enforceability of the contract in its entirety.

[Doc. 18 at 4-5].

      By its own terms, the DRP is not applicable to Plaintiffs as hourly, union

employees. [Doc. 9-2 at 3 (“The DRP applies to all salaried and non-union hourly

employees of Anheuser-Busch Companies, Inc., or any of its U.S. subsidiaries.”)].

Under the doctrine of expressio unius est exclusio alterius, which “instructs that

when certain matters are mentioned in a contract, other similar matters not

mentioned were intended to be excluded,” the DRP’s application to salaried and non-

union hourly employees implies that hourly, union employees are not subject to the

DRP’s provisions. See Plumbers & Steamfitters Local No. 150 Pension Fund v.

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Vertex Constr. Co., 932 F.2d 1443, 1449 (11th Cir. 1991). Thus, the Court agrees

with the Magistrate Judge that the DRP is inapplicable to Plaintiffs.

      Defendant is correct that the DRP includes a delegation clause granting

“exclusive authority” to the arbitrator to resolve any disputes relating to the

applicability, enforceability or formation of the DRP. [Doc. 9-2 at 16, art. 13.1].

Courts “only retain jurisdiction to review a challenge” to a specific delegation

clause. Parnell, 804 F.3d at 1144; see also Parm v. Nat’l Bank of Cal., N.A., 835

F.3d 1331, 1335 (11th Cir. 2016) (“Only if [a court] determine[s] that the delegation

clause is itself invalid or unenforceable may [the court] review the enforceability of

the arbitration agreement as a whole.”). Here, Defendant contends that Plaintiffs

failed to sufficiently challenge the specific delegation clause. [Doc. 18 at 4-5]. In

support of its argument, Defendant relies on Rent-A-Center, W., Inc. v. Jackson, 561

U.S. 63 (2010), to establish that because the delegation clause was not sufficiently

challenged, the applicability of the DRP is under the exclusive province of the

arbitrator. [Id.]. In Rent-A-Center, the Supreme Court found that the issue of

enforceability of the arbitration agreement was for the arbitrator because the

defendant only challenged the agreement as a whole with no mention of the

delegation clause. 561 U.S. at 66, 72.




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      Rent-A-Center, however, is inapplicable here because Plaintiffs incorporated

their argument against the DRP as a whole to the specific delegation clause. [Doc.

9 at 11 (“[B]ecause the DRP does not bind Plaintiffs, the delegation clause has no

application either.”)]. The Supreme Court specifically distinguished Rent-A-Center

from the current facts by stating that its decision may have been different if the

defendant in Rent-A-Center had applied his arguments to the agreement as a whole

to the specific delegation provision, as Plaintiffs have done in this case. Rent-A-

Center, 561 U.S. at 74; see also MacDonald v. CashCall, Inc., 883 F.3d 220, 226-

27 (3d Cir. 2018) (holding the plaintiff’s challenge of the delegation clause sufficient

where the plaintiff alleged the delegation clause was unenforceable for the same

reasons that the arbitration procedure in the agreement as a whole was

unenforceable).

      Defendant argues that Plaintiffs’ “one sentence” on the delegation clause is

insufficient to trigger judicial review because it is the same argument used against

the DRP as a whole. [Doc. 18 at 4-5 (emphasis in original)]. However, the Court

disagrees and concludes that the sentence is sufficient to make Plaintiffs’ arguments

to the entire agreement applicable specifically to the delegation clause. Because the

entirety of the DRP applies to only salaried, non-union employees, it follows that

the delegation clause also applies only to salaried, non-union employees. Therefore,

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the Court agrees with the Magistrate Judge’s recommendation and finds that

Plaintiffs, as hourly, union employees, are not subject to either the DRP or its

delegation clause.

      B. The CBA Supersedes the DRP and Does Not Require Arbitration of
         Plaintiffs’ Title VII Claims

      Defendant further argues that the CBA does not supersede the DRP because a

CBA is not a contract of employment and because Plaintiffs are third-party

beneficiaries to the CBA and not signatories. [Id. at 6-8]. Like the Magistrate Judge,

this Court disagrees and finds that the CBA does supersede the DRP and does not

compel arbitration of Plaintiffs’ claims.

      The arbitration agreements Plaintiffs signed to obtain employment with AB

all contained a statement to the effect that arbitration is binding unless “a written

contract provides otherwise.” [Schmitt Decl. at ¶ 5; Hlubek Decl., Exhibit A at 6-

9]. Here, the CBA constitutes a “written contract” providing otherwise because: (1)

it is a written contract concerning Plaintiffs’ employment; (2) it followed Plaintiffs’

agreement to the DRP; and (3) it provides otherwise by not requiring arbitration of

discrimination claims. Defendant’s argument that the CBA does not supersede the

DRP because the CBA is not a contract of employment fails because nothing in the

DRP requires that a superseding “written contract” specifically be a contract of

employment.
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        And, even though Plaintiffs are third-party beneficiaries, they are entitled to

all of the benefits of the CBA, including the right to file claims for alleged violations

of their statutory rights in applicable and appropriate forums. See J.I. Case Co. v.

NLRB, 321 U.S. 332, 336 (1944) (“[A]n employee becomes entitled by virtue of the

Labor Relations Act somewhat as a third party beneficiary to all benefits of the

collective trade agreement . . . . The individual hiring contract is subsidiary to the

terms of the trade agreement and may not waive any of its benefits . . . .”). Thus, the

Court agrees with the Magistrate Judge that the CBA supersedes the DRP in this

case.

        Furthermore, the Court finds that the CBA does not require arbitration of

Plaintiffs’ discrimination claims. The Supreme Court requires that a CBA “clearly

and unmistakably” require arbitration of discrimination claims. Pyett, 556 U.S. at

258, 274. Here, the CBA does not “clearly and unmistakably” require arbitration of

Plaintiffs’ discrimination claims because it (1) states that nothing in the CBA

prevents an employee from filing suit for alleged violations of statutory rights in an

appropriate forum, and (2) specifies certain statutory claims that must be arbitrated

without including statutory discrimination claims.

        Article 26 of the CBA states that “[n]othing in this collective bargaining

agreement shall prevent any employee from lodging any charge, complaint, or claim

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seeking redress for alleged violations of any statutory rights or obligation in the

applicable and appropriate forum.” [Doc. 9-1 at 39]. This Court is an appropriate

forum for Plaintiffs’ claims. Defendant contends, however, that arbitration is also

an appropriate forum and “[n]owhere in the CBA does it limit an ‘appropriate forum’

exclusively to federal district courts.” [Doc. 10 at 2]. Defendant’s argument,

however, highlights the ambiguity created by Article 26 of the CBA. The CBA, in

arguably providing for various “appropriate forums” for discrimination claims, does

not “clearly and unmistakably” require arbitration for such claims. Thus, the

language does not meet the legal standard to compel arbitration.

      Additionally, the CBA explicitly requires arbitration of FMLA claims, but

does not specify that discrimination claims require arbitration, which further

demonstrates the CBA does not require arbitration of Plaintiffs’ claims in this case.

[Doc. 9-1 at 14]. Therefore, in sum, the Court agrees with the Magistrate Judge and

concludes that the CBA does not “clearly and unmistakably” require arbitration of

discrimination claims. As such, Defendant cannot compel arbitration of Plaintiffs’

claims under the CBA. Pyett, 556 U.S. at 274.

   IV.   CONCLUSION

      Upon due consideration of the record, the Non-Final Report and

Recommendation [Doc. 16], Defendant’s Objections [Doc. 18], and Plaintiffs’

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Response [Doc. 20], the Court hereby DENIES Defendant’s Motion to Dismiss or

Stay and Compel Arbitration [Doc. 8].

      IT IS SO ORDERED this 19th day of August, 2020.




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